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                                UNITED STATES DISTRICT COURT
13
                                     DISTRICT OF NEVADA
14
15   DIANA PEREZ,                                       Case No.: 2:20-cv-01533-JCM-EJY
16
                   Plaintiff,                           STIPULATION AND ORDER FOR
17                                                      DISMISSAL WITH PREJUDICE AS
     v.                                                 TO DEFENDANT COMENITY
18
                                                        BANK
19   COMENITY BANK,
20
                   Defendant.
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22
23          Pursuant to Federal Rule of Civil Procedure 41, Plaintiff Diana Perez (“Plaintiff”)
24
     and Defendant Comenity Bank, by and through undersigned counsel, hereby stipulate
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     that this action and all claims and defenses asserted therein be dismissed with prejudice
26
27   as to Defendant Comenity Bank. The parties have further stipulated that each party shall
28   bear their own attorneys’ fees and costs.
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 1         Respectfully submitted this 7th day of January 2021.

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15
                                                     Comenity Bank
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17
18                                        IT IS SO ORDERED.
19
20                                        ______________________________________
                                          Hon. James C. Mahan
21
                                          UNITED STATES DISTRICT JUDGE
22
23                                                January 27, 2021
                                          DATED: ___________________________
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 1                              CERTIFICATE OF SERVICE

 2          I hereby certify that on January 7, 2021, I electronically filed the foregoing with
 3
     the Clerk of the Court using the ECF system, which will send notice of such filing to all
 4
 5
     attorneys of record in this matter. Since none of the attorneys of record are non-ECF

 6   participants, hard copies of the foregoing have not been provided via personal delivery or
 7
     by postal mail.
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 9
            Price Law Group, APC
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            /s/ Lia Ruggeri
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